     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 1 of 36 Page ID
                                     #:52800


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18
                                         UNITED STATES DISTRICT COURT
19
                                     CENTRAL DISTRICT OF CALIFORNIA
20
     IN RE: NATIONAL FOOTBALL
21                                                     Case No. 2:15-ml-02668−PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
22   ANTITRUST LITIGATION                              NFL DEFENDANTS’ NOTICE OF
     ______________________________                    MOTION AND MOTION FOR
23                                                     JUDGMENT AS A MATTER OF LAW

24   THIS DOCUMENT RELATES TO:                         Judge: Hon. Philip S. Gutierrez
     ALL ACTIONS                                       Hearing Date: June 25, 2024
25
                                                       Courtroom: First Street Courthouse
26                                                                350 West 1st Street
                                                                  Courtroom 6A
27
                                                                  Los Angeles, CA 90012
28


      Case No. 2:15-ml-02668-PSG (SKx)                                  NFL Defendants’ Notice of Motion and
                                                                       Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 2 of 36 Page ID
                                     #:52801


 1               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2               PLEASE TAKE NOTICE that on June 25, 2024, in the courtroom of the Honorable
 3   Philip S. Gutierrez, Chief United States District Judge, Courtroom 6A, United States
 4   Courthouse, 350 West 1st Street, Los Angeles, CA 90012, the NFL Defendants1 will, and
 5   hereby do, move pursuant to Rule 50(a) of the Federal Rules of Civil Procedure, for
 6   judgment as a matter of law.
 7               Defendants seek a ruling under Federal Rule of Civil Procedure 50(a) that Plaintiffs
 8   did not present a legally sufficient basis for any reasonable jury to find that Plaintiffs met
 9   their burden of showing that: (i) their proffered experts were reliable under Rule 702 or
10   that the experts’ testimony was sufficient to sustain a verdict; (ii) Defendants conspired to
11   monopolize in violation of Section 2 of the Sherman Act; (iii) Plaintiffs’ “college football”
12   but-for world proved anticompetitive effects in any relevant market or constituted a
13   substantially less restrictive alternative to the NFL’s procompetitive telecasting
14   arrangement; (iv) the NFL Defendants are capable of “concerted action” under the
15   Sherman Act; (v) Plaintiffs’ “multiple distributor” but-for world proved anticompetitive
16   effects in any relevant market or constituted a substantially less restrictive alternative to
17   the NFL’s procompetitive telecasting arrangement; (vi) injury or damages occurred on a
18   class-wide basis; (vii) the commercial class suffered injury or damages; or (viii) Plaintiffs
19   even could recover as a matter of law, in light of the bars on their claims under Illinois
20   Brick v. Illinois, 431 U.S. 720 (1977), and the Sports Broadcasting Act, 15 U.S.C. § 1291.
21
     1
22    The NFL Defendants consist of: Arizona Cardinals Football Club, LLC.; Atlanta Falcons
     Football Club, LLC; Baltimore Ravens Limited Partnership; Buffalo Bills, LLC; Panthers
23   Football, LLC; The Chicago Bears Football Club, Inc.; Cincinnati Bengals, Inc.; Cleveland
     Browns Football Company LLC; Dallas Cowboys Football Club, Ltd.; Denver Broncos
24   Team, LLC; The Detroit Lions, Inc.; Green Bay Packers, Inc.; Houston NFL Holdings,
25   L.P.; Indianapolis Colts, Inc.; Jacksonville Jaguars, LLC.; Kansas City Chiefs Football
     Club, Inc.; Miami Dolphins, Ltd.; Minnesota Vikings Football, LLC; National Football
26   League, Inc; NFL Enterprises LLC; New England Patriots LLC; New Orleans Louisiana
     Saints, LLC; New York Football Giants, Inc.; New York Jets LLC.; Raiders Football Club,
27   LLC; Philadelphia Eagles, LLC; Pittsburgh Steelers LLC.; Chargers Football Company,
     LLC; Forty Niners Football Company LLC; Football Northwest LLC; The Los Angeles
28   Rams, LLC; Buccaneers Team LLC; Tennessee Football, LLC.; and Pro-Football LLC.

                                                       i
         Case No. 2:15-ml-02668-PSG (SKx)                  NFL Defendants’ Notice of Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 3 of 36 Page ID
                                     #:52802


 1            Plaintiffs have been fully heard and have not presented legally sufficient evidence
 2   for the Jury––or any reasonable jury––to find in their favor on any of these issues.
 3   Defendants’ motion is based upon this notice of motion and motion, the concurrently filed
 4   memorandum of points and authorities, all pleadings on file in this matter, all testimony
 5   and evidence at trial, any argument that may be presented to the Court on this motion, and
 6   such other matters as the Court deems appropriate.
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      Case No. 2:15-ml-02668-PSG (SKx)                  NFL Defendants’ Notice of Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 4 of 36 Page ID
                                     #:52803


 1   Dated: June 24, 2024                Respectfully submitted,
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                                              iii
      Case No. 2:15-ml-02668-PSG (SKx)              NFL Defendants’ Notice of Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 5 of 36 Page ID
                                     #:52804


 1                                                 TABLE OF CONTENTS
 2   INTRODUCTION ............................................................................................................... 1
 3
     LEGAL STANDARD .......................................................................................................... 2
 4
     ARGUMENT ....................................................................................................................... 3
 5
              I.       The Testimony Of Plaintiffs’ Experts Cannot Support A Plausible
 6
                       Verdict In Favor Of Plaintiffs. ........................................................................ 3
 7
                       A.        Dr. Rascher’s “college football” but-for world cannot support a
 8                               verdict in Plaintiffs’ favor. .................................................................... 3
 9
                       B.        Dr. Zona’s “multiple distributor” but-for world cannot support a
10                               verdict in Plaintiffs’ favor. .................................................................... 7
11            II.      Plaintiffs Failed To Prove Their Theories Of Liability................................. 10
12
                       A.        Plaintiffs’ challenge to pooling and exclusivity (the college
13                               football theory) fails. ........................................................................... 10
14                               1.       No reasonable jury could conclude that the NFL and the
15                                        NFL teams are not a single entity for purposes of
                                          licensing telecasts. .................................................................... 10
16

17
                                 2.       No reasonable jury could find that Plaintiffs proved
                                          substantial anticompetitive effects in a purported market
18                                        for NFL telecasts....................................................................... 12
19                               3.       No reasonable jury could find that Plaintiffs identified
20                                        substantially less restrictive alternatives. ................................. 12
21                     B.        Plaintiffs’ challenge to exclusivity (the multiple distributor
22
                                 theory) fails. ........................................................................................ 17

23                               1.       No reasonable jury could find that Plaintiffs proved
                                          substantial anticompetitive effects. .......................................... 17
24

25                               2.       No reasonable jury could find that Plaintiffs identified
                                          substantially less restrictive alternatives to the exclusive
26                                        license. ...................................................................................... 19
27
              III.     Plaintiffs Failed To Prove Classwide Injury Or Damages. ........................... 21
28

                                                                      i
      Case No. 2:15-ml-02668-PSG (SKx)                                             NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 6 of 36 Page ID
                                     #:52805


 1            IV.      Plaintiffs Failed To Provide Sufficient Evidence Of Liability, Injury,
 2                     Or Damages For The Commercial Class. ..................................................... 22

 3            V.       Plaintiffs Failed To Prove Damages Under Illinois Brick. ........................... 23
 4            VI.      Plaintiffs Failed To Establish Liability Based On Conduct That Is Not
 5                     Protected By The Sports Broadcasting Act. .................................................. 25
 6   CONCLUSION .................................................................................................................. 25
 7

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      Case No. 2:15-ml-02668-PSG (SKx)                                          NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 7 of 36 Page ID
                                     #:52806


 1                                             TABLE OF AUTHORITIES
 2                                                                                                                          Page(s)
 3   Cases

 4   Abuan v. Gen. Elec. Co.,
       3 F.3d 329 (9th Cir. 1993).............................................................................................. 22
 5

 6   Am. Needle, Inc. v. Nat’l Football League,
       560 U.S. 183 (2010) ....................................................................................................... 10
 7
     Apple Inc. v. Pepper,
 8
       587 U.S. 273 (2019) ....................................................................................................... 23
 9
     Brooke Grp., Ltd. v. Brown & Williamson Tobacco Corp.,
10     509 U.S. 209 (1993) ..................................................................................................... 3, 9
11
     Cablevision Sys. Corp. v. Fed. Commc’ns Comm’n,
12     649 F.3d 695 (D.C. Cir. 2011) ....................................................................................... 19
13   Cal. Comput. Prods., Inc. v. Int’l Bus. Machs. Corp.,
14     613 F.2d 727 (9th Cir. 1979)............................................................................................ 2
15   Comcast Corp. v. Behrend,
16
       569 U.S. 27 (2013) ..................................................................................................... 9, 24

17   Cont’l T.V., Inc. v. GTE Sylvania Inc.,
       433 U.S. 36 (1977) ......................................................................................................... 20
18

19
     Dolphin Tours, Inc. v. Pacifico Creative Serv., Inc.,
       773 F.2d 1506 (9th Cir. 1985) ............................................................................... 6, 8, 16
20
     Equal Emp. Opportunity Comm’n v. Freeman,
21     778 F.3d 463 (4th Cir. 2015)............................................................................................ 3
22
     Epic Games, Inc. v. Apple, Inc.,
23     67 F.4th 946 (9th Cir. 2023) ................................................................................... passim
24
     Est. of Barabin v. AstenJohnson, Inc.,
25     740 F.3d 457 (9th Cir. 2014)............................................................................................ 3
26   Fed. Trade Comm’n v. Qualcomm Inc.,
27     969 F.3d 974 (9th Cir. 2020)................................................................................ 1, 10, 18

28

                                                                    iii
      Case No. 2:15-ml-02668-PSG (SKx)                                          NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 8 of 36 Page ID
                                     #:52807


 1   Foremost Pro Color, Inc. v. Eastman Kodak Co.,
 2     703 F.2d 534 (9th Cir. 1983).......................................................................................... 19

 3   Gen. Elec. Co. v. Joiner,
       522 U.S. 136 (1997) ......................................................................................................... 3
 4

 5   Gold Medal LLC v. USA Track & Field,
       187 F. Supp. 3d 1219 (D. Or. 2016) .............................................................................. 23
 6
     Gray v. Hudson,
 7
       28 F.4th 876 (9th Cir. 2022) ............................................................................................ 2
 8
     Ill. Brick Co. v. Illinois,
 9      431 U.S. 720 (1977) ....................................................................................................... 23
10
     In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab. Litig.,
11      524 F. Supp. 2d 1166 (N.D. Cal. 2007) ................................................................... 3, 4, 8
12   In re Mirena IUS Levonorgestrel-Related Prods. Liab. Litig. (No. II),
13      341 F. Supp. 3d 213 (S.D.N.Y. 2018).............................................................................. 3
14   In re Nat’l Football League’s Sunday Ticket Antitrust Litig.,
15
        933 F.3d 1136 (9th Cir. 2019) ....................................................................................... 23

16   In re Nat’l Football League’s Sunday Ticket Antitrust Litig.,
        2024 WL 168298 (C.D. Cal. Jan. 11, 2024) ............................................................ 10, 11
17

18
     In re Online DVD-Rental Antitrust Litig.,
        779 F.3d 914 (9th Cir. 2015)............................................................................................ 3
19
     In re Prempro Prods. Liab. Litig.,
20      586 F.3d 547 (8th Cir. 2009)............................................................................................ 2
21
     In re Rail Freight Fuel Surcharge Antitrust Litig.,
22      934 F.3d 619 (D.C. Cir. 2019) ....................................................................................... 22
23
     In re Roundup Prods. Liab. Litig.,
24      2024 WL 3074376 (N.D. Cal. June 20, 2024) ................................................................. 7
25   Indianapolis Colts, Inc. v. Metro. Baltimore Football Club Ltd. P’ship,
26     34 F.3d 410 (7th Cir. 1994)............................................................................................ 11

27   Johnson v. Am. Honda Motor Co.,
       923 F. Supp. 2d 1269 (D. Mont. 2013) ............................................................................ 2
28

                                                                    iv
      Case No. 2:15-ml-02668-PSG (SKx)                                           NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 9 of 36 Page ID
                                     #:52808


 1   Kurtz v. Costco Wholesale Corp.,
 2     818 F. App’x 57 (2d Cir. 2020) ..................................................................................... 22

 3   Landes Constr. Co. v. Royal Bank of Can.,
       833 F.2d 1365 (9th Cir. 1987) ......................................................................................... 2
 4

 5   Leegin Creative Leather Prods., Inc. v. PSKS, Inc.,
       551 U.S. 877 (2007) ................................................................................................. 23, 24
 6
     Masimo Corp. v. Apple Inc.,
 7
      2023 WL 3432126 (C.D. Cal. Mar. 15, 2023) ............................................................... 24
 8
     Monsanto Co. v. Spray-Rite Serv. Corp.,
 9    465 U.S. 752 (1984) ....................................................................................................... 23
10
     Murphy Tugboat Co. v. Crowley,
11    658 F.2d 1256 (9th Cir. 1981) ......................................................................................... 8
12   Nat’l Collegiate Athletic Ass’n v. Alston,
13     594 U.S. 69 (2021) ......................................................................................................... 15
14   Nova Designs, Inc. v. Scuba Retailers Ass’n,
15
       202 F.3d 1088 (9th Cir. 2000) ....................................................................................... 10

16   O’Bannon v. Nat’l Collegiate Athletic Ass’n,
       802 F.3d 1049 (9th Cir. 2015) ................................................................................. 13, 15
17

18
     Ohio v. Am. Express Co.,
       585 U.S. 529 (2018) ................................................................................................. 12, 19
19
     Paladin Assocs., Inc. v. Mont. Power Co.,
20     328 F.3d 1145 (9th Cir. 2003) ....................................................................................... 21
21
     Paramount Fin. Commc’ns, Inc. v. Broadridge Inv. Commc’n Sols., Inc.,
22     2023 WL 5635772 (E.D. Pa. Aug. 31, 2023) .................................................................. 2
23
     Parrish v. Nat’l Football League Players Ass’n,
24     534 F. Supp. 2d 1081 (N.D. Cal. 2007) ......................................................................... 18
25   Perez v. State Farm Mut. Auto. Ins. Co.,
26     291 F.R.D. 425 (N.D. Cal. 2013) ................................................................................... 23

27   PLS.Com, LLC v. Nat’l Ass’n of Realtors,
       32 F.4th 824 (9th Cir. 2022) .......................................................................................... 18
28

                                                                    v
      Case No. 2:15-ml-02668-PSG (SKx)                                          NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 10 of 36 Page ID
                                      #:52809


 1   Ralph C. Wilson Indus., Inc. v. Am. Broad. Cos.,
 2     598 F. Supp. 694 (N.D. Cal. 1984) .......................................................................... 20, 21

 3   SD3, LLC v. Black & Decker (U.S.) Inc.,
       801 F.3d 412 (4th Cir. 2015).......................................................................................... 19
 4

 5   Tawfilis v. Allergan, Inc.,
       2017 WL 3084275 (C.D. Cal. June 26, 2017) ................................................................. 4
 6
     Texaco Inc. v. Dagher,
 7
       547 U.S. 1 (2006) ..................................................................................................... 12, 24
 8
     TransUnion LLC v. Ramirez,
 9     594 U.S. 413 (2021) ....................................................................................................... 21
10
     Tripati v. McKay,
11     211 F. App’x 552 (9th Cir. 2006) .................................................................................... 2
12   United Farmers Agents Ass’n v. Farmers Ins. Exch.,
13     89 F.3d 233 (5th Cir. 1996)............................................................................................ 12
14   United Food & Com. Workers Loc. 1776 & Participating Emps. Health & Welfare Fund
15
       v. Teikoku Pharma USA,
       296 F. Supp. 3d 1142 (N.D. Cal. 2017) ........................................................................... 9
16
     United States v. Gomez-Gallardo,
17     915 F.2d 553 (9th Cir. 1990).......................................................................................... 24
18
     United States v. J-M Mfg. Co.,
19     2020 WL 4196880 (C.D. Cal. June 5, 2020) ................................................................... 2
20   Statutes
21
     15 U.S.C. § 1291 .......................................................................................................... 12, 25
22
     Rules
23

24   Fed. R. Civ. P. 50(a)......................................................................................................... 1, 2

25   Fed. R. Evid. 702 ........................................................................................................ passim
26

27

28

                                                                     vi
      Case No. 2:15-ml-02668-PSG (SKx)                                            NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 11 of 36 Page ID
                                      #:52810


 1                                         INTRODUCTION
 2            Plaintiffs’ case depends entirely on the validity of their experts’ models of the but-
 3   for world. Those models are critical to establishing anticompetitive effects, less restrictive
 4   alternatives, injury, and damages—each of which Plaintiffs have the burden to prove.
 5            Plaintiffs have no valid models. Rule 702 prohibits models based on speculation and
 6   unsupported assumptions, rather than sound economics. Plaintiffs’ primary expert, Dr.
 7   Rascher, has offered nothing more than a thought experiment, based on cherry-picked
 8   facets of different slices of college football broadcasting, with no real-world analogue.
 9   Worse, he ignored the building blocks of economics: the changed incentives created by
10   changes to the real world. Dr. Rascher’s approach raises countless questions that he does
11   not—and cannot—answer. Saying “it will all work out” is not a substitute for sound
12   economic analysis, particularly when the trial record contradicts his assumptions at every
13   turn. Plaintiffs’ other expert, Dr. Zona, prepared something that looks like a model but is
14   riddled with flaws that were fully exposed—and unaddressed—at trial. And Plaintiffs have
15   not come close to providing a valid model (or any evidence at all) for the commercial class.
16   The models should thus be excluded under Rule 702. They are also insufficient to establish
17   critical elements of Plaintiffs’ case under Rule 50, warranting judgment.
18            Judgment is particularly appropriate as to Plaintiffs’ Section 2 “conspiracy to
19   monopolize” claim. Binding Ninth Circuit precedent holds that “[i]f, in reviewing an
20   alleged Sherman Act violation, a court finds that the conduct in question is not
21   anticompetitive under § 1, the court need not separately analyze the conduct under § 2.”
22   FTC v. Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020). Plaintiffs’ Section 1 and 2
23   claims are indisputably based on the same “conduct.” At trial, Plaintiffs did not distinguish
24   between the two claims or offer any evidence specific to their Section 2 claim. While they
25   attempted to defend the Section 2 claim in pretrial briefs by reference to a submarket for
26   out-of-market (“OOM”) games, they presented literally no supporting testimony or
27   evidence at trial. Submitting that claim to the Jury would thus be legally improper,
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      Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 12 of 36 Page ID
                                      #:52811


 1   needlessly complicate the jury instructions, substantially confuse the jurors, and risk an
 2   inconsistent verdict.
 3            For these and other reasons noted below, the Court should grant a Rule 50 judgment.
 4                                       LEGAL STANDARD
 5            Judgment as a matter of law is appropriate if there is no “legally sufficient
 6   evidentiary basis” for “a reasonable jury . . . to find for [the non-moving] party on that
 7   issue.” Fed. R. Civ. P. 50(a)(1); Cal. Comput. Prods., Inc. v. Int’l Bus. Machs. Corp., 613
 8   F.2d 727, 734 (9th Cir. 1979). To defeat such a motion, Plaintiffs must present substantial
 9   evidence as to every element of their claims. Cal. Comput. Prods., 613 F.2d at 734.
10   “Substantial evidence” is “more than a mere scintilla,” id.; it is “such relevant evidence as
11   reasonable minds might accept as adequate to support a conclusion,” Landes Constr. Co.
12   v. Royal Bank of Can., 833 F.2d 1365, 1371 (9th Cir. 1987). Conclusory and speculative
13   testimony is insufficient. Tripati v. McKay, 211 F. App’x 552, 553 (9th Cir. 2006). The
14   Court “should also give credence to evidence supporting defendants that is uncontradicted
15   and unimpeached, at least to the extent that that evidence comes from disinterested
16   witnesses.” Gray v. Hudson, 28 F.4th 87, 96 (9th Cir. 2022) (cleaned up).
17            Judgment as a matter of law is also proper where critical expert evidence does not
18   pass muster under Rule 702. See, e.g., In re Prempro Prods. Liab. Litig., 586 F.3d 547, 570
19   (8th Cir. 2009). After the close of evidence, “it is not unheard of—and certainly entirely
20   appropriate where warranted—to strike testimony of an expert witness” and enter judgment
21   for the opposing party. Paramount Fin. Commc’ns, Inc. v. Broadridge Inv. Commc’n Sols.,
22   Inc., 2023 WL 5635772, at *2 (E.D. Pa. Aug. 31, 2023); see also Johnson v. Am. Honda
23   Motor Co., 923 F. Supp. 2d 1269, 1279–80 (D. Mont. 2013) (striking expert testimony
24   “necessary” to “establish” liability and granting judgment for the defense); United States
25   v. J-M Mfg. Co., 2020 WL 4196880, at *41 (C.D. Cal. June 5, 2020) (same).
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      Case No. 2:15-ml-02668-PSG (SKx)                      NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 13 of 36 Page ID
                                      #:52812


 1                                            ARGUMENT
 2   I.       THE TESTIMONY OF PLAINTIFFS’ EXPERTS CANNOT SUPPORT A
              PLAUSIBLE VERDICT IN FAVOR OF PLAINTIFFS.
 3
          A. Dr. Rascher’s “college football” but-for world cannot support a verdict in
 4           Plaintiffs’ favor.
 5            Plaintiffs’ ability to show that the challenged conduct violates the antitrust laws
 6   hinges on Dr. Rascher. He is the only witness who purports to describe the but-for world
 7   (“BFW”) absent that conduct––his so-called “college football” BFW. But Dr. Rascher’s
 8   analysis is not the product of reliable economic methodology. It is devoid of economic
 9   reasoning and contrary both to basic economics principles and all of the trial testimony
10   offered by witnesses other than Dr. Rascher.
11            “When an expert opinion is not supported by sufficient facts to validate it in the eyes
12   of the law, or when indisputable record facts contradict or otherwise render the opinion
13   unreasonable, it cannot support a jury’s verdict.” Brooke Grp. Ltd. v. Brown & Williamson
14   Tobacco Corp., 509 U.S. 209, 242 (1993). Exclusion is also warranted where an expert
15   “cherry-pick[s]” data and “reject[s] or ignor[es] . . . evidence that contradicts his
16   conclusion.” In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab. Litig., 524 F. Supp.
17   2d 1166, 1176 (N.D. Cal. 2007); In re Mirena IUS Levonorgestrel-Related Prods. Liab.
18   Litig. (No. II), 341 F. Supp. 3d 213, 252 (S.D.N.Y. 2018) (expert “choos[ing] not to
19   consider evidence that undercuts his opinion” is a “methodological failing”), aff’d, 982
20   F.3d 113 (2d Cir. 2020); see also EEOC v. Freeman, 778 F.3d 463, 469 (4th Cir. 2015)
21   (Agee, J., concurring) (collecting cases excluding testimony on this basis). Courts regularly
22   exclude expert opinions that that suffer from these flaws, as well as opinions that rely solely
23   on the “ipse dixit of the expert,” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997), that
24   are “founded on speculation,” In re Online DVD-Rental Antitrust Litig., 779 F.3d 914, 924
25   (9th Cir. 2015), or that are based on “junk science,” Est. of Barabin v. AstenJohnson, Inc.,
26   740 F.3d 457, 463 (9th Cir. 2014).
27            Dr. Rascher’s testimony must be excluded under these principles. The things he
28   cannot explain outnumber those he tried to explain, and the few explanations he offered

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      Case No. 2:15-ml-02668-PSG (SKx)                        NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 14 of 36 Page ID
                                      #:52813


 1   are contradicted by the testimony of every percipient witness. A review of the questions
 2   Dr. Rascher did not and cannot answer proves the point:
 3            Is his model even based on college football? Dr. Rascher’s BFW looks nothing like
 4   college football. In his view, the most likely version of this BFW retains the NFL’s current
 5   distribution of games in-market on CBS and FOX, with some undefined group of actors
 6   (see infra at 5) distributing games wherever CBS and FOX are not showing them. 06/11/24
 7   Tr. (Rascher) 890:8–841:16. Nothing of the sort occurs in college football, which involves
 8   single national feeds of each game and no guaranteed access to local teams. E.g., id. 837:1–
 9   13; see also 06/18/24 Tr. (McManus) 1710:3–1711:2. Dr. Bernheim further explained how
10   Dr. Rascher’s BFW involves “cherry pick[ing]” different slices of college football at
11   different times in an unprincipled manner. 06/20/24 Tr. 1936:19–1937:10, 1946:16–
12   1947:1. It is not sound methodology to select a “yardstick” or “benchmark” and then
13   cherry-pick parts of it to build a but-for world that bears no resemblance to the chosen
14   benchmark—or anything in the real world. See Tawfilis v. Allergan, Inc., 2017 WL
15   3084275, at *6 (C.D. Cal. June 26, 2017) (“[T]he yardstick market [must] be as comparable
16   as possible in all respects” to the but-for world.); Bextra, 524 F. Supp. 2d at 1176.
17            Further, Dr. Rascher confirmed that each college football “conference” is in fact a
18   sports league, 06/11/24 Tr. 822:2–18, and that college conferences collectively license the
19   game telecasting rights for their respective teams, id. 883:25–884:8. His college football
20   BFW thus cannot represent a BFW without joint licensing by the NFL and teams because
21   college football conferences do jointly license their telecasting rights. “[I]f Dr. Rascher had
22   stuck with that analogy, he would have to have thrown out college football altogether as a
23   comparison.” 06/20/24 Tr. (Bernheim) 1938:7–8. Nor is it any answer for Dr. Rascher to
24   claim that there are multiple versions of the BFW, some of which may look more like
25   college football than others. 06/11/24 Tr. (Rascher) 866:1–7. The solution to idle
26   speculation is not to layer on additional—and even less realistic—idle speculation.
27            Who would be selling rights and for which games? Dr. Rascher cannot explain what
28   rights are being sold in his BFW. Is it all Sunday afternoon games, or just the right to show

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      Case No. 2:15-ml-02668-PSG (SKx)                      NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 15 of 36 Page ID
                                      #:52814


 1   those games wherever CBS and FOX are not? 06/11/24 Tr. (Rascher) 886:23–887:5. Is it
 2   only Sunday afternoon games, or also primetime games? Id. 903:1–14. Are teams selling
 3   whatever rights they have individually, or in groups? Id. 883:15–22. If in groups, what are
 4   the groups? Id. 864:24–865:22 (possibilities include everything from eight groups of four
 5   to four groups of eight); see also id. 883:23–25. And since no individual team can license
 6   rights alone, id. 710:5–8, how are agreements even reached? Dr. Rascher could not say.
 7            Who would be producing and distributing games? Dr. Rascher similarly could not
 8   explain how games would be produced and distributed in his BFW. He testified that
 9   networks would share their feeds with their rivals, id. 894:17–895:5, but also that “two
10   production crews” is an option, id. 897:4–9. If there is just one feed, he “can’t think of an
11   example” where that happens in the real world, id. 895:9–10, and does not know whether
12   the rival networks would add their own graphics and announcers, or how much that
13   additional production would cost, id. 895:11–896:4. If there are two feeds, he has never
14   offered an accounting or explanation of what the costs or quality would be.
15            Uncontroverted testimony showed that none of these alternatives would have
16   worked. The former head of CBS Sports, Sean McManus, testified that he is not aware of
17   “an infrastructure existing in this country that could support that kind of programming.”
18   06/18/24 Tr. 1711:25–1712:2. He also explained that in this BFW, CBS would not have
19   been interested in in-market rights, id. 1667:23–1668:4; that CBS would not have shared
20   its feeds with rivals, id. 1668:8–20; and that Plaintiffs’ approach would be “chaotic” from
21   both sales and production standpoints, id. 1712:2–6. The NFL’s VP of Broadcasting, Cathy
22   Yancy, confirmed that none of this was workable. Id. 1764:20–1765:16; 1766:17–1768:13.
23   Dr. Rascher had no response.
24            How would revenue sharing work? Knowing how revenues are shared is critical to
25   understanding the BFW because it drives all economic incentives. Dr. Rascher
26   hypothesizes that revenue sharing would not be equal. 06/11/24 Tr. (Rascher) 862:18–21.
27   But he had no explanation of which revenues would be shared in the but-for world, or at
28   what percentages. Id. 902:14–904:25, see also id. 869:19–870:14, 833:23–834:17.

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      Case No. 2:15-ml-02668-PSG (SKx)                     NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 16 of 36 Page ID
                                      #:52815


 1            How would advertising work? It was uncontroverted at trial that advertising is the
 2   engine of broadcast television. 06/18/24 Tr. (McManus) 1653:6–11; 06/10/24 Tr.
 3   (L. Jones) 614:14–18. But Dr. Rascher could not explain how advertising would work in
 4   the BFW, 06/11/24 Tr. 897:14–22, and both Mr. McManus and Ms. Yancy offered
 5   uncontroverted testimony that any such system would have been unworkable, 06/18/24 Tr.
 6   (McManus) 1668:21–23; id. (Yancy) 1765:17–1766:7.
 7            These questions are not inconsequential details. Dr. Rascher agrees, as he must, that
 8   all actors make economically “rational” choices, 06/11/24 Tr. 882:9–12, and that “once
 9   you change one thing, there can be consequences,” id. 878:8–11; see Dolphin Tours, Inc.
10   v. Pacifico Creative Serv., Inc., 773 F.2d 1506, 1511 (9th Cir. 1985) (parties must “presume
11   the existence of rational economic behavior”). But as Dr. Bernheim explained, in
12   uncontroverted testimony, economics is fundamentally a study of incentives. 06/20/24 Tr.
13   1891:11–25. Dr. Rascher did not account for any of the changed incentives in the BFW, let
14   alone create a coherent model of them. Id. (Bernheim) 1894:20–25 (“[H]e’s . . . basically
15   saying that he can imagine an outcome that would be, in his view, beneficial. But he doesn’t
16   go beyond imagining that outcome.”); id. 1895:1–3. “It’ll all work out” is not an acceptable
17   answer, yet it is the only answer Dr. Rascher gave. See, e.g., 06/11/24 Tr. 897:24 (“It
18   doesn’t really matter.”); id. 886:9–10 (it all ends up “[i]n the same spot”).
19            Nor can Dr. Rascher plausibly rely on the NFL’s “New Frontier” study from 2017.
20   See TX-686; 06/11/24 Tr. (Rascher) 758:19–25. The testimony indisputably established
21   that it is not proof of any realistic BFW or of something the NFL seriously considered or
22   endorsed. The Executive Vice President of NFL Media, Hans Schroeder, described New
23   Frontier as “a brainstorming document,” “a hypothetical analysis,” and, ultimately, a “pie-
24   in-the-sky type exercise.” See ECF No. 1413-6 (Schroeder Dep.) Tr. 152:24–153:9. And
25   the NFL’s Chief Media and Business Officer, Brian Rolapp, explained he “didn’t spend
26   much time . . . on th[e] idea because I didn’t think it worked or was a very good one.”
27   06/12/24 Tr. 1103:12–16. That was because that document, like Dr. Rascher, failed to
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      Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 17 of 36 Page ID
                                      #:52816


 1   account for practical realities, like who would produce the broadcasts or how advertising
 2   would work, and conflated access with viewership.1
 3               In sum, Dr. Rascher’s ill-defined college football BFW raises many questions that
 4   should have been answered as a matter of sound economic analysis, but that he completely
 5   failed to answer other than with his unsupported and sharply contradicted say-so. Rule 702
 6   requires exclusion of his models under these circumstances. See In re Roundup Prods.
 7   Liab. Litig., 2024 WL 3074376, at *6 (N.D. Cal. June 20, 2024) (excluding expert who
 8   was unable “to answer basic and straightforward questions” about her opinion).
 9          B. Dr. Zona’s “multiple distributor” but-for world cannot support a verdict in
10             Plaintiffs’ favor.
11               As an alternative, Plaintiffs presented forty-five minutes of testimony from Dr. Zona,
12   who purported to model the BFW without exclusivity. But the undisputed flaws in Dr.
13   Zona’s models preclude their use.
14               First, Dr. Zona’s models predict higher prices in the BFW. Dr. Zona calculated
15   $102.74 as the average actual price paid by Sunday Ticket subscribers during the class
16   period.2 Neither of Dr. Zona’s models reliably establishes lower prices in the BFW.
17               The viewership model Dr. Zona presented (Model 1) involves the flawed assumption
18   that the NFL would continue using a flat fee structure when licensing to multiple
19   distributors. That assumption contradicts undisputed evidence about economic theory and
20   real-world business practices.3 When that improper assumption is removed––part of the
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     1
       06/12/24 Tr. (Rolapp) 1102:19–1103:16; see also 06/20/24 Tr. (Bernheim) 2013:2–4
22   (testimony showed that New Frontier proposal was misinformed); id. 2012:5–18 (New
23
     Frontier document conflated access with viewership); id. 2011:23–2012:18 (New
     Frontier’s discussion of distribution undermines Dr. Rascher’s but-for-world).
24   2
       See 06/13/24 Tr. (Zona) 1216:14–17 (“But you did calculate average over the country
     and you came up with 102.74 as the average of all the zip codes; correct? A. That’s
25   correct.”); id. (Yurukoglu) 1327:12–14 (“Q. So, Doctor, is it fair to call [$102.74] an
     average real price? A. I think that’s a fair characterization, yeah.”); id. 1325:25–1326:11.
26
     3
       See, e.g., 06/13/24 Tr. (Yurukoglu) 1339:9–12 (economic theory predicts licensors will
27   use per-subscriber fees with multiple distributors); id. 1342:12–13 (same); id. 1360:1–3
     (same); ECF No. 1444-2 (Dyckes 30(b)(6) Dep.) Tr. 34:3–35:19 (other sports leagues such
28   (continued…)

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         Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 18 of 36 Page ID
                                      #:52817


 1   pressure-testing that is essential to sound economic analysis4––Model 1 indisputably
 2   predicts higher but-for prices than real-world prices.5 “A reasonable jury could
 3   not . . . indulge in the assumption that a [company] would follow a course of behavior other
 4   than that which it believed would maximize its profits.” Murphy Tugboat Co. v. Crowley,
 5   658 F.2d 1256, 1262 (9th Cir. 1981).
 6            Plaintiffs tried to hide their survey model (Model 2), which is both bad science,
 7   06/13/24 Tr. (Yurukoglu) 1330:24–1331:13, and legally improper cherry-picking, see
 8   Bextra, 524 F. Supp. 2d at 1176. But it was undisputed that Model 2 also shows higher
 9   prices than in the real world. 06/13/24 Tr. (Yurukoglu) 1353:12–22.
10            Second, Dr. Zona’s models predict irrational behavior by consumers. The
11   unreliability of Dr. Zona’s models is also exemplified by their undisputed, outlandish
12   predictions. Plaintiffs did not dispute that both of Dr. Zona’s models predict that DirecTV
13   and its undefined direct-to-consumer (“DTC”) competitor would charge wildly different
14   prices. That conclusion makes no sense. 06/13/24 Tr. (Yurukoglu) 1347:21–1348:1,
15   1356:14–19. Moreover, Plaintiffs did not dispute that in both of Dr. Zona’s models, many
16   DirecTV subscribers make the irrational choice to pay much more for a product equivalent
17   to what they can get on DirecTV. See id. (Yurukoglu) 1348:19–1349:6 (Model 1
18   prediction); 1357:1–19 (Model 2 prediction). Models that fail to “presume the existence of
19   rational economic behavior,” see Dolphin Tours, 773 F.2d at 1511, are inadmissible and
20

21   as the NBA, MLB, and NHL license their OOM packages to DirecTV using a per-
     subscriber fee comprising a percentage of the suggested retail price set by the leagues);
22   06/07/24 Tr. (Bornstein) 403:13–404:3 (ESPN uses per-subscriber fees when contracting
     with multiple providers); id. 404:7–11 (per-subscriber fees are “common in all cable
23   television”); 06/12/24 Tr. (Rolapp) 1089:10–1090:2 (the NFL used a per-subscriber fee
24
     when distributing Sunday Ticket non-exclusively in Canada before 2017); id. 1090:17–
     1091:5 (DAZN uses a per-subscriber fee when sub-licensing Sunday Ticket non-
25   exclusively in Canada). While Mr. Elhauge opined that such agreements may be
     anticompetitive, neither he nor Plaintiffs actually analyzed that matter, whether in Dr.
26   Zona’s BFW, or as to the many other real-world examples of this business strategy.
     06/24/24 Tr. (Elhauge) 2224:19–22.
27   4
       06/13/24 Tr. (Yurukoglu) 1325:10–21, 1332:24–1333:12, 1333:24–1334:5.
     5
28     06/13/24 Tr. (Yurukoglu) 1340:5–14, 1341:3–22; 06/17/24 Tr. (Yurukoglu) 1422:19–24.

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      Case No. 2:15-ml-02668-PSG (SKx)                     NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 19 of 36 Page ID
                                      #:52818


 1   insufficient, see United Food & Com. Workers Loc. 1776 & Participating Emps. Health &
 2   Welfare Fund v. Teikoku Pharma USA, 296 F. Supp. 3d 1142, 1179 (N.D. Cal. 2017)
 3   (“[O]nly opinions that are economically rational may be provided[.]”).
 4            Third, Zona’s models rest on the unsupported assumption that an alternative
 5   provider would have distributed Sunday Ticket from 2011 to 2023. Dr. Zona failed to
 6   substantiate his critical presumption that all class members could have obtained Sunday
 7   Ticket from a DTC service, 06/13/24 Tr. (Zona) 1227:6–16—i.e. through live streaming,
 8   id. 1228:10–14. In fact, Dr. Zona never identified any alternative provider interested in and
 9   capable of carrying Sunday Ticket. Id. 1228:17–21, 1229:5–17, 1229:25–1230:22,
10   1231:16–20. Moreover, fact witnesses provided uncontroverted testimony that there was
11   no streaming alternative to DirecTV for Sunday Ticket. See 06/12/24 Tr. (Rolapp) 1000:3–
12   10, 1083:16–1085:4, 1115:20–1116:3; 06/17/24 Tr. (Goodell) 1463:7–23. Models cannot
13   be predicated on an impossibility. See Brooke Grp., 509 U.S. at 242.
14            Fourth, Dr. Zona’s eleventh-hour “NFL tax” calculation is not a timely or valid
15   model of damages. At trial, Dr. Zona presented a damages calculation based on the theory
16   that prices would have been lower if DirecTV had charged the “optimal” price for Sunday
17   Ticket, free from alleged NFL influence (the “NFL tax”). 06/13/24 Tr. 1182:7–11, 1183:2–
18   22; Zona Direct Demonstrative Slide 3 ($1.72B in damages based on “Optimal Price”
19   theory). But this calculation—which was not included in any of Dr. Zona’s or Dr. Rascher’s
20   eight expert reports and was offered for the first time on the seventh day of trial—is as
21   flawed as it is untimely. The fact that Dr. Zona’s models fail to predict real-world Sunday
22   Ticket prices simply “reflect[s] the deficiencies of his models,” 06/13/24 Tr. (Yurukoglu)
23   1345:25–1346:3, rather than proving the NFL controlled pricing contrary to the testimony
24   of every witness. See infra at Part V. Further, this “NFL tax” theory is not predicated on
25   removing any aspect of the challenged conduct—it takes pooling and DirecTV’s
26   exclusivity as a given—and thus cannot be the basis for damages. See Comcast Corp. v.
27   Behrend, 569 U.S. 27, 36–38 (2013) (damages must fit theory of liability).
28                                       *        *              *

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      Case No. 2:15-ml-02668-PSG (SKx)                     NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 20 of 36 Page ID
                                      #:52819


 1               Neither Dr. Rascher’s nor Dr. Zona’s model is admissible under Rule 702. Without
 2   those models, Plaintiffs cannot satisfy their burden to prove liability, injury, and damages.6
 3   II.         PLAINTIFFS FAILED TO PROVE THEIR THEORIES OF LIABILITY.
 4               For their Section 1 claim, Plaintiffs must prove (among other elements): “(1) that
 5   there was a contract, combination, or conspiracy among two or more persons or distinct
 6   business entities; [and] (2) that the agreement unreasonably restrained trade under the rule
 7   of reason.” In re Nat’l Football League’s Sunday Ticket Antitrust Litig., 2024 WL 168298,
 8   at *2 (C.D. Cal. Jan. 11, 2024). No reasonable jury could find that Plaintiffs have met their
 9   burden as to either (A) all of the challenged conduct or (B) just exclusivity standing alone.
10               For their Section 2 conspiracy to monopolize claim, Plaintiffs must prove all of the
11   same elements as their Section 1 claim. See Nova Designs, Inc. v. Scuba Retailers Ass’n,
12   202 F.3d 1088, 1092 (9th Cir. 2000); Qualcomm, 969 F.3d at 991; ECF No. 1370 (Defs.’
13   Trial Br.) at 12–17. Plaintiffs identified no separate conduct or evidence relevant to their
14   Section 2 claim, and they abandoned the submarket they previously asserted to defend this
15   claim, see ECF No. 1331-1 (Proposed Final Pretrial Conf. Order) at 14–15. Accordingly,
16   Plaintiffs’ failure on Section 1 means their Section 2 claim fails as well. Further, proving a
17   Section 2 violation “is more exacting” than proving a Section 1 violation, Qualcomm, 969
18   F.3d at 992, because it requires proof of specific intent to monopolize and anticompetitive
19   conduct, id. at 991. Plaintiffs made no showing as to either element.
20          A. Plaintiffs’ challenge to pooling and exclusivity (the college football theory) fails.
21                        1.        No reasonable jury could conclude that the NFL and the NFL
22                                  teams are not a single entity for purposes of licensing telecasts.
23               Plaintiffs have failed to prove that the NFL and its member teams are capable of
24   “concerted action” for purposes of licensing telecast rights. Am. Needle, Inc. v. Nat’l
25   Football League, 560 U.S. 183, 190 (2010) (addressing single-entity argument as to
26
     6
27     While Mr. Elhauge attempted to offer opinions about bundling, i.e. the absence of single-
     team packages, Plaintiffs presented no model, let alone any BFW, matching this claim. So
28   it is likewise irrelevant under Comcast.

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         Case No. 2:15-ml-02668-PSG (SKx)                          NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 21 of 36 Page ID
                                      #:52820


 1   merchandising and requiring evaluation of specific concerted activity at issue). As this
 2   Court has held, Plaintiffs must prove “it is possible for the member clubs to act individually
 3   to produce telecasts.” Sunday Ticket, 2024 WL 168298, at *18. The trial record
 4   indisputably proves the opposite.
 5               Plaintiffs conceded that (1) an NFL game requires the participation and consent of
 6   both teams and the NFL itself;7 (2) production of an NFL game telecast similarly requires
 7   consent from both teams and the NFL;8 and (3) a wide range of intellectual property rights
 8   are necessary to create an NFL telecast, See, e.g., TX-146D at §§ A.5.f, B.3.c (separately
 9   owned IP necessary); 06/17/24 Tr. (J. Jones) 1578:16–25; 06/18/24 Tr. (Yancy) 1752:24–
10   1753:11, 1765:9–15. Moreover, the evidence showed that absent joint licensing of the
11   telecasting rights and exclusivity, broadcasters would not agree to produce the telecasts in
12   the first place. E.g., 06/18/24 Tr. (McManus) 1667:23–1668:4.
13               As a result, Dr. Rascher admitted that it is not possible for a team to act individually
14   to produce telecasts––the test this Court established. 06/11/24 Tr. 876:18–21 (“Q: And you
15   agree that in . . . your but-for world, both NFL teams would have had to consent for the
16   broadcaster, whichever one it was, to air the game; correct? A: Yes.” (emphasis added)).
17               Moreover, undisputed evidence showed that the value consumers derive from NFL
18   telecasts comes from their being part of the NFL season, which necessarily requires
19   cooperation among multiple teams and collective activities directed by the NFL. See
20   06/18/24 Tr. (Bernheim) 1827:23–24; id. 1828:7–8 (referring to Ms. Yancy’s testimony
21   that the NFL and teams’ collaboration ensures high telecast quality); 06/24/24 Tr.
22   (Bernheim) 2076:9–11. Thus, the NFL and its teams’ telecasting arrangements are at a
23
     7
24     See, e.g., 06/11/24 Tr. (Rascher) 874:21–23 (“Q: You need two teams in the NFL to make
     a game; correct? A: Yes.”); id. 875:9–10 (“[T]he NFL consents if they’re going to use . . .
25   their marks” in a telecast); ECF No. 975-1 (Mem. Opp. Defs.’ Mot. Summ. J.) at 18 n.17
     (recognizing the “cooperation required to schedule and create an NFL game”).
26   8
       06/11/24 Tr. (Rascher) 876:18–21; see also Indianapolis Colts, Inc. v. Metro. Baltimore
27   Football Club Ltd. P’ship, 34 F.3d 410, 416 (7th Cir. 1994) (affirming an injunction against
     the use of the name “Baltimore CFL Colts” in telecasts as infringing the trademark rights
28   of both the NFL and the Indianapolis Colts).

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         Case No. 2:15-ml-02668-PSG (SKx)                         NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 22 of 36 Page ID
                                      #:52821


 1   minimum characterized as a production joint venture as to NFL football telecasts,
 2   regardless of whether or not Plaintiffs claim they are challenging certain features of those
 3   agreements. 06/18/24 Tr. (Bernheim) 1826:12–16. The Supreme Court has been clear that
 4   the only potential challenge to joint selling by a venture that creates and sells an integrated
 5   product is to the creation of the joint venture (the NFL) itself. See Texaco Inc. v. Dagher,
 6   547 U.S. 1, 7 (2006). Plaintiffs do not and cannot challenge the creation of the NFL. See
 7   15 U.S.C. § 1291 (Congress’s explicit 1966 approval of the AFL-NFL merger).
 8            Because the evidence demonstrated that the NFL and the teams are either a single
 9   entity or a production joint venture, Plaintiffs cannot prove unlawful “concerted action.”
10                     2.        No reasonable jury could find that Plaintiffs proved substantial
11                               anticompetitive effects in a purported market for NFL telecasts.
12            At step one of the rule of reason, “the plaintiff has the initial burden to prove that the
13   challenged restraint has a substantial anticompetitive effect that harms consumers in the
14   relevant market.” Ohio v. Am. Express Co. (“Amex”), 585 U.S. 529, 541 (2018). Here,
15   Plaintiffs premise their case on a relevant market of all professional football telecasts, see
16   06/11/24 Tr. (Rascher) 712:20–25, and admit that in-market and out-of-market telecasts
17   “compete with each other,” id. 713:3–10. Plaintiffs’ theory thus fails on its face: The
18   allegedly restrained OOM games face competition from in-market games which are
19   indisputably (i) close substitutes and (ii) available for free. There are no anticompetitive
20   effects where consumers have close substitutes available at competitive prices—let alone
21   for free. See United Farmers Agents Ass’n v. Farmers Ins. Exch., 89 F.3d 233, 238 n.6 (5th
22   Cir. 1996) (“The existence of a good substitute at a competitive price (in this case . . . for
23   free) prevents a producer from selling its product at an above-market price.”).
24                     3.        No reasonable jury could find that Plaintiffs identified
25                               substantially less restrictive alternatives.
26            Even if Plaintiffs had met their burden at step one, no reasonable juror could find
27   (i) that Defendants failed to satisfy their burden at step two to show procompetitive
28   rationales or (ii) that Plaintiffs identified viable, less restrictive alternatives at step three.

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      Case No. 2:15-ml-02668-PSG (SKx)                          NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 23 of 36 Page ID
                                      #:52822


 1   See Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 985–94 (9th Cir. 2023).
 2               Defendants have shown multiple, legally cognizable procompetitive rationales.
 3   “A procompetitive rationale is a nonpretextual claim that the defendant’s conduct is indeed
 4   a form of competition on the merits because it involves, for example, greater efficiency or
 5   enhanced consumer appeal.” Id. at 986 (cleaned up); see also O’Bannon v. Nat’l Collegiate
 6   Athletic Ass’n, 802 F.3d 1049, 1059, 1073 (9th Cir. 2015) (restraints need not be the
 7   “primary driver” of a procompetitive rationale). Defendants have offered overwhelming
 8   evidence that the challenged conduct enhances competitive balance, increases output by
 9   promoting over-the-air telecasts, drives efficient scheduling to give most consumers the
10   games they want, and promotes telecast quality and innovation.
11               i. Competitive balance. The pooling of telecast rights and resulting revenue sharing
12   protects the NFL’s competitive balance, a well-established procompetitive rationale. See
13   O’Bannon, 802 F.3d at 1059, 1072. Plaintiffs have not contested that the NFL has the most
14   competitive balance of any league or that the closeness of NFL games drives engagement
15   and viewership.9 Defendants have offered evidence from lay and expert witnesses that the
16   NFL’s equal sharing of its media revenues enhances competitive balance, both directly and
17   through the associated salary caps and floors.10 Plaintiffs offered only theoretical
18   speculation in response, not evidence establishing that the teams and players would set the
19   same salary caps and floors—which Plaintiffs admit ensure the NFL’s competitive
20

21   9
        06/11/24 Tr. (Rascher) 827:2–828:14 (conceding that the NFL has more competitive
22   balance than any other sports league); id. 828:20–829:3; id. 832:1–17; id. 833:17–22;
     06/10/24 Tr. (L. Jones) 656:14–21 (similar); see also 06/11/24 Tr. (Rascher) 849:4–850:3
23   (“generally speaking” fans are more likely to tune in for a close game); id. 852:22–853:24
     (studies suggesting the same); id. 855:17–856:9 (Rascher agrees “competitive balance” can
24   be procompetitive); 06/13/24 Tr. (Frantz) 1300:5–17 (agreeing that a closer game is more
     exciting); 06/12/24 Tr. (Rolapp) 1101:6–1102:4.
25   10
         06/12/24 Tr. (Rolapp) 1130:4–21 (revenue sharing drives competitive balance); id.
26   1132:4–9 (same); id. 1058:24–1059:13 (same); 06/17/24 Tr. (Goodell) 1455:3–1457:1
     (revenue sharing is important to competitive balance); id. 1526:3–24 (revenue sharing is
27   necessary to maintain the salary cap); id. (J. Jones) 1569:10–1571:21 (explaining the need
     for media revenue sharing to maintain competitive balance and enhance the fan
28   experience); 06/20/24 Tr. (Bernheim) 1907:22–1911:9.

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         Case No. 2:15-ml-02668-PSG (SKx)                      NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 24 of 36 Page ID
                                      #:52823


 1   balance—with less revenue sharing.11
 2            ii. Protection of over-the-air access to popular games. The evidence showed that
 3   the challenged conduct promotes and protects over-the-air telecasts, increasing output.
 4   Plaintiffs’ expert testified that the “vast majority of current over-the-air customers do not
 5   want different games than the over-the-air networks choose.” 06/11/24 Tr. (Rascher)
 6   801:21–25, 804:5–14. This procompetitive benefit of giving the vast majority of fans what
 7   they want for free depends critically on the NFL’s current pooling strategy, 06/20/24 Tr.
 8   (Bernheim) 1930:5–25; see also 06/18/24 Tr. (McManus) 1667:23–1668:4 (CBS would
 9   not have been interested in telecasts without pooling).
10            iii. Efficient and pro-consumer scheduling of games. Pooling also promotes
11   efficient matching between NFL games and network timeslots, thereby providing
12   consumers with the games they want and stimulating demand and output. Dr. Bernheim’s
13   testimony here was unrebutted, other than Mr. Elhauge’s speculation unsupported by any
14   models or quantitative analysis. 06/20/24 Tr. 1916:11–1917:24; see also 06/18/24 Tr.
15   (McManus) 1655:13–1656:23, 1711:16–1712:6; id. (Yancy) 1766:23–1768:13.
16            iv. Quality and innovation in broadcasts. Finally, pooling of telecast rights
17   promotes innovation, and incentivizes, enhances, and maintains high quality telecasts.
18   Epic, 67 F.4th at 987–88. For example, pooling of rights and revenues ensures consistent
19   telecast quality across teams.12 Similarly, the shared telecast rights ensure that fans get to
20   watch a high-quality broadcast, no matter who they root for. 06/18/24 Tr. (Yancy)
21   1751:10–17, 1733:11–19.13 Dr. Bernheim and fact witnesses explained how pooling and
22   exclusivity drive innovation by the networks, including incorporation of fan preferences,
23   ad innovations through NFL guidelines, and ensuring CBS and FOX’s feeds remain high
24
     11
25      06/20/24 Tr. (Bernheim) 1908:21–1910:17 (without revenue sharing, salary caps and
     floors would change); 06/17/24 Tr. (J. Jones) 1569:10–1571:21; id. (Goodell) 1526:3–24.
26   12
        06/18/24 Tr. (Bernheim) 1827:23–1828:8 (testimony on value created through pooled
     telecasts).
27
     13
         See also 06/17/24 Tr. (Goodell) 1451:22–1452:8, id. 1474:15–21; 06/20/24 Tr.
28   (Bernheim) 1918:5–1920:17.

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      Case No. 2:15-ml-02668-PSG (SKx)                      NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 25 of 36 Page ID
                                      #:52824


 1   quality.14 Finally, Defendants offered unrebutted testimony that shared revenue and
 2   telecast rights allow the NFL to set league-wide standards for games and telecast
 3   production, improving player safety and game quality.15
 4            In response to these “non-pretextual and legally cognizable” procompetitive
 5   rationales, Plaintiffs bore the burden to prove that the same procompetitive benefits could
 6   be reasonably achieved through “substantially less restrictive means.” Epic, 67 F.4th at
 7   973, 986, 990. In evaluating Plaintiffs’ proof, the Jury would have to “give wide berth to
 8   business judgments,” and “resist the temptation to require that enterprises employ the least
 9   restrictive means of achieving their legitimate business objectives.” Nat’l Collegiate
10   Athletic Ass’n v. Alston 594 U.S. 69, 102, 106 (2021); see also 06/20/24 Tr. (Bernheim)
11   1879:19–1880:1. Plaintiffs’ less restrictive alternatives must be “viable,” O’Bannon, 802
12   F.3d at 1074, and “virtually as effective in serving the defendant’s procompetitive purposes
13   without significantly increased cost,” Epic, 67 F.4th at 990 (cleaned up).
14            For multiple reasons, Plaintiffs came nowhere close to meeting these burdens. As an
15   initial matter, multiple fact witnesses explained why college football is not a better
16   alternative overall. See, e.g., 06/10/24 Tr. (L. Jones) 654:15–16 (college football is “a bit
17   of a mess”); 06/12/24 Tr. (Rolapp) 1100:14–15 (“college football suffers from their
18   model”). By Dr. Rascher’s chosen metrics of viewership and revenue, college football falls
19   short of the NFL. See 06/20/24 Tr. (Bernheim) 1943:17–1944:6. Plaintiffs likewise failed
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23      06/18/24 Tr. (Bernheim) 1828:2–6 (referring to C. Yancy testimony about teams’
     collaboration “to ensure that the telecast quality is really high”); 06/20/24 Tr. (Bernheim)
24   1877:5–1878:1 (pooling is connected to the investments made to improve the viewing
     experience, including video quality and commentators); id. 1952:20–24 (mandatory
25   pooling of telecast rights enabled NFL to create high value for fans); 06/17/24 Tr. (Goodell)
     1450:24–1452:8, 1474:15–1477:8; cf. 06/18/24 Tr. (McManus) 1669:9–1670:2.
26   15
        06/18/24 Tr. (Yancy) 1751:10–1752:16 (attributing fairness in rule changes and
27   assurances on equipment and safety to team revenue sharing); TX-127A (NFL-wide
     research on game presentation); TX-212 (email from C. Yancy to FOX sharing league
28   presentation guidelines and encouraging further innovation).

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      Case No. 2:15-ml-02668-PSG (SKx)                      NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 26 of 36 Page ID
                                      #:52825


 1   to show their alternatives achieve the procompetitive benefits of the current system.16
 2            First, as to competitive balance, Dr. Rascher admitted that “in college
 3   football, . . . there is not close to as much competition as there is in the NFL.” 06/11/24 Tr.
 4   874:11–17. Plaintiffs acknowledge that college conference realignment, which exacerbates
 5   competitive imbalance, resulted in large part from individual teams’ pursuit of higher
 6   revenues but ignore that NFL teams would have the same incentives in Dr. Rascher’s but-
 7   for world. See 06/20/24 Tr. (Bernheim) 1940:2–23. Other witnesses confirmed that a world
 8   without pooling would also be a world without equal revenue sharing, and thus would
 9   reduce competitive balance similar to college football. 06/17/24 Tr. (J. Jones) 1580:22–25;
10   1581:5–24; see also 06/17/24 Tr. (Goodell) 1455:9–1457:1 (explaining that equal revenue
11   sharing is essential to competitive balance); 06/18/24 Tr. (McManus) 1671:17–22.
12            Second, the college football BFW would not achieve widespread distribution of free,
13   over-the-air telecasts. The uncontroverted evidence was that it would have been impossible
14   to regionalize games to permit free broadcasts in-market and other telecasts out-of-market.
15   06/18/24 Tr. (Yancy) 1766:17–1768:13. And in reality, college football does not provide
16   all local games over-the-air,17 or achieve the same high share of over-the-air games as the
17   NFL. 06/20/24 Tr. (Bernheim) 1908:21–1910:17, 1947:23–1948:12.
18            Third, Plaintiffs offered no evidence of efficient matching of games to timeslots in
19   their college football BFW. There is no flexing of games between college conferences;
20   Plaintiffs did not suggest otherwise. See 06/20/24 Tr. (Bernheim) 1916:11–1917:24;
21   06/12/24 Tr. (Rascher) 946:1–10 (testimony only of flexing within conferences).
22            Finally, the evidence showed that college football broadcasts do not feature
23
     16
24      Although Mr. Elhauge purported to identify other less restrictive alternatives, he
     conceded that he had no opinion regarding the BFW and presented no valid model of these
25   alternatives (including whether economic incentives would have led to their adoption).
     Proposed less restrictive alternatives are irrelevant if they are not based on reliable analyses
26   of whether those alternatives would arise from “rational economic behavior.” Dolphin
     Tours, 773 F.2d at 1511.
27
     17
        06/11/24 Tr. (Rascher) 836:3–11 (NCAA packages require “premium” purchases); id.
28   837:1–17 (telecasts of local college games unavailable); 06/10/24 Tr. (L. Jones) 630:2–5.

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      Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 27 of 36 Page ID
                                      #:52826


 1   investment, innovation, and quality to the degree seen in the NFL. Uncontroverted
 2   testimony showed that networks invest more in NFL games, 06/10/24 Tr. (L. Jones) 492:2–
 3   24, 633:3–11; 06/20/24 (Bernheim) 1876:22–1877:4, and roll out key innovations in NFL
 4   games, id. 643:7–17. Moreover, Plaintiffs did not dispute that in the one context in which
 5   NFL teams do not pool rights (preseason), the broadcasts are substantially lower quality.18
 6            Plaintiffs’ failure to offer any feasible alternative to achieve Defendants’
 7   procompetitive benefits reflects the Ninth Circuit’s understanding that “a business practice
 8   without a less restrictive alternative is not, on balance, anticompetitive.” Epic, 67 F.4th at
 9   994. In any event, Plaintiffs failed to establish that any purported anticompetitive effects
10   outweighed the clear procompetitive benefits. See 06/20/24 Tr. (Bernheim) 1931:6–11; see
11   also id. 1931:12–21, 2031:17–24, 2032:3–23.
12        B. Plaintiffs’ challenge to exclusivity (the multiple distributor theory) fails.
13            Plaintiffs’ second theory fails for similar reasons. This theory is more limited––it is
14   a challenge to exclusivity alone, and asserts that the NFL should have licensed to at least
15   one unspecified, additional distributor. 06/13/24 Tr. (Zona) 1173:3–10.19 As explained
16   supra at Part I.B, Dr. Zona’s model of this multiple distributor but-for world is wholly
17   unreliable and should be excluded under Rule 702. The model also fails as a matter of law
18   for several additional reasons.
19                     1.        No reasonable jury could find that Plaintiffs proved substantial
20                               anticompetitive effects.
21            Plaintiffs’ challenge to the vertical, exclusive copyright license between the NFL
22   and DirecTV is not tenable as a matter of law or fact. The evidence showed that: (i) NFL
23   telecasts could not be created or distributed without obtaining intellectual property right
24
     18
25      06/18/24 Tr. (Yancy) 1752:24–1754:5 (preseason broadcasts have different appearance,
     reduced levels of talent, and reduced variability in camera angles); 06/18/24 Tr. (Bernheim)
26   1827:23–1828:8 (value created through pooled telecasts); id. 1921:8–17; 06/12/24 Tr.
     (Rolapp) 968:5–24 (preseason “is probably our least viewed and interesting games”).
27
     19
        See also, e.g., 06/13/24 Tr. (Zona) 1182:12–14; id. 1228:1–4; id. 1238:14–20 (admitting
28   that his results would differ if he considered more than one additional competitor).

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      Case No. 2:15-ml-02668-PSG (SKx)                          NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 28 of 36 Page ID
                                      #:52827


 1   licenses from the NFL, the teams, and the broadcasters, see supra at Part II.A.1; (ii) under
 2   the NFL’s agreements with CBS and FOX, the copyrights for the network telecasts vest in
 3   the NFL, see, e.g., TX-145 (2014 NFL-FOX agreement) at § 11.1; and (iii) in turn, the NFL
 4   granted DirecTV an exclusive license to resell the network transmissions and sole pricing
 5   and packaging authority on the product, see, e.g., TX-44 (2009 NFL-DirecTV Agreement)
 6   at §§ 2(c), 3(a); TX-45 (2014 NFL-DirecTV Agreement) at §§ 2(c), 3(a).
 7            As a matter of law, “[t]he mere existence of an exclusive deal between the [NFL]
 8   and its licensee[] does not violate the antitrust laws or significantly threaten competition.”
 9   Parrish v. Nat’l Football League Players Ass’n, 534 F. Supp. 2d 1081, 1092 (N.D. Cal.
10   2007); see ECF No. 962-1 (Mem. Supp. Defs.’ MSJ) at 22–25 (collecting authorities).
11   Indeed, several witnesses, including Sean McManus of CBS Sports, testified that such
12   arrangements are common. See, e.g., 06/18/24 Tr. (McManus) 1651:22–24.20
13            Plaintiffs also had to prove that the effect of the exclusive license was to foreclose
14   competition in a “substantial share of the line of commerce affected.” Qualcomm, 969 F.3d
15   at 1003 (emphasis added); see also PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824,
16   834 (9th Cir. 2022). Plaintiffs offered no such proof. See supra Part II.A.2.
17            First, Plaintiffs failed to show foreclosure of any competition in the market they
18   alleged, let alone of a substantial share. The vast majority of viewership of NFL Football
19   is of in-market games.21 Moreover, only three million of approximately 200 million NFL
20

21   20
        See also, e.g., 06/07/24 Tr. (Lippincott) 451:7–17 (Residential Plaintiff subscribes to
22   Apple TV because he “wanted to be able to watch Ted Lasso,” and “that was the only
     place” he could get it); 06/10/24 Tr. (L. Jones) 599:4–6 (exclusivity is “the essence of
23   [FOX’s] business model”); 06/12/24 Tr. (Rolapp) 1093:12–22; 06/13/24 Tr. (Yurukoglu)
     1342:21–1343:1 (exclusivity is common in the media and entertainment industries);
24   06/18/24 Tr. (McManus) 1651:9 (exclusivity “was vital to CBS”); id. (Yancy) 1740:8–17;
     06/20/24 Tr. (Bernheim) 1954:1–2 (exclusivity “happens all the time in the economy”).
25   21
        See, e.g., 06/12/24 Tr. (Rolapp) 1145:6–8 (“Another way to look at it is there’s 200
26   million fans. We have a model that’s serving the vast, vast majority – 94, 95 percent[.]”);
     see also 06/20/24 Tr. (Bernheim) 1871:10–23 (explaining that “approximately 70 percent
27   of the teams’ fans are located within their local market area”); id. 2034:1–19; 06/11/24 Tr.
     (Rascher) 804:5–14 (acknowledging that “the vast majority of current over-the-air
28   customers do not want different games than the over-the-air networks choose”).

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      Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 29 of 36 Page ID
                                      #:52828


 1   fans were Sunday Ticket subscribers at a given time, see 06/12/24 Tr. (Rolapp) 1144:24–
 2   25; TX-172 at 12, and witnesses testified that only 5–6% of all NFL fans had interest in
 3   watching OOM games and willingness to purchase Sunday Ticket during the class period,
 4   06/12/24 Tr. (Rolapp) 1144:7–1145:5. Thus, even assuming that the Sunday Ticket
 5   agreement limited competition for OOM games, Plaintiffs failed to show that it foreclosed
 6   competition in the relevant market. See Qualcomm, 969 F.3d at 1004–05.
 7            Second, Plaintiffs failed to prove the feasibility of a multiple distributor BFW
 8   because Dr. Zona never identified the alternative provider of Sunday Ticket and there was
 9   no evidence of an interested and capable provider. See supra at Part I.B.
10            Third, as explained supra in Part I.B, Dr. Zona’s models predict higher prices in the
11   BFW, which cannot support a finding of anticompetitive effects. See Amex, 585 U.S. at
12   547–48 (no anticompetitive effects where there is no evidence that the actual price “was
13   higher than the price one would expect to find in a competitive market”).
14                     2.        No reasonable jury could find that Plaintiffs identified
15                               substantially less restrictive alternatives to the exclusive license.
16            Defendants proffered legitimate procompetitive rationales at step two of the rule of
17   reason, and Plaintiffs failed to establish a less restrictive alternative. Starting with
18   procompetitive rationales, Defendants proved the following:
19            i. Incentivizing innovation and increasing quality. The exclusive licensing conduct
20   promoted innovation by DirecTV, which results in a higher quality Sunday Ticket product.
21   See, e.g., Foremost Pro Color, Inc. v. Eastman Kodak Co., 703 F.2d 534, 542 (9th Cir.
22   1983) (“Product innovation . . . is in many cases the essence of competitive conduct.”);
23   SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412, 435 (4th Cir. 2015) (recognizing
24   the creation of “incentives to innovate” as a cognizable procompetitive benefit);
25   Cablevision Sys. Corp. v. FCC, 649 F.3d 695, 721 (D.C. Cir. 2011) (noting that
26   “exclusivity can further competition in certain circumstances,” including by “encouraging
27   innovation and investment” (internal quotation marks and citation omitted)).
28            The evidence showed that, because DirecTV had the exclusive right to distribute

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      Case No. 2:15-ml-02668-PSG (SKx)                           NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 30 of 36 Page ID
                                      #:52829


 1   Sunday Ticket, it had the incentive to innovate in its offerings. See 06/07/24 Tr. (Bornstein)
 2   365:12–20; 06/12/24 Tr. (Rolapp) 1116:9–19; 06/20/24 Tr. (Bernheim) 1962:11–15,
 3   1963:4–16; see also 06/13/24 Tr. (Yurukoglu) 1342:14–17. DirecTV acted on that
 4   incentive, including by creating RedZone, Fantasy Zone, the multiview option, and a
 5   streaming version of Sunday Ticket. 06/17/24 Tr. (Goodell) 1452:15–24.22 The evidence—
 6   including class representative testimony—also showed that DirecTV’s investments in
 7   innovation improved the package’s actual value to customers. 06/07/24 Tr. (Lippincott)
 8   443:6–444:21; 06/13/24 Tr. (Frantz) 1304:18–1305:13.23 While Plaintiffs contend that
 9   DirecTV stopped innovating at some point in the 2010s in anticipation of AT&T’s loss of
10   exclusivity over Sunday Ticket, that does not undermine the innovations that occurred
11   beforehand, 06/20/24 Tr. (Bernheim) 1961:9–1962:10, and in any event, is immaterial
12   because Plaintiffs identified no workable alternative to DirecTV at that time.
13            ii. Incentivizing investment in promotion and price discounts. Defendants
14   established that exclusivity also incentivized DirecTV’s investment in promotion and
15   discounts of Sunday Ticket. See, e.g., Cont’l T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36,
16   54–55 (1977) (one of the “redeeming virtues” of vertical restraints is that they may “induce
17   retailers to engage in promotional activities”); see also Ralph C. Wilson Indus., Inc. v. Am.
18   Broad. Cos., 598 F. Supp. 694, 706 (N.D. Cal. 1984) (same). The evidence showed that
19   DirecTV invested in promotion, which stimulated demand and output by enhancing the
20   package’s perceived value. 06/20/24 Tr. (Bernheim) 1955:6–1956:4.24 Many subscribers
21   also received Sunday Ticket for free or at a discount, because DirecTV was incentivized to
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24   22
        See also, e.g., 06/07/24 Tr. (Bornstein) 363:21–365:7; 06/12/24 Tr. (Rolapp) 1067:8–13,
25   1070:14–1074:25.
     23
        See also, e.g., 06/07/24 Tr. (Bornstein) 384:22–385:16; 06/07/24 Tr. (Lippincott) 444:8–
26   21; ECF No. 1444-1 (White Dep.) Tr. 193:12–195:2, 196:14–197:2.
     24
27      See also, e.g., 06/12/24 Tr. (Goodell) 1452:15–24 (“the way [DirecTV] promote[s] the
     game,” and “the quality of how they do that” is a reason for exclusivity); 06/07/24 Tr.
28   (Bornstein) 365:12–366:10.

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      Case No. 2:15-ml-02668-PSG (SKx)                      NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 31 of 36 Page ID
                                      #:52830


 1   offer discounts and promotions that would not occur without exclusivity.25 See, e.g.,
 2   Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1158 (9th Cir. 2003) (“Lower
 3   prices are almost always procompetitive.”).
 4            iii. Promoting MVPD competition. DirecTV’s exclusive license also led to
 5   increased competition among MVPDs. It differentiated DirecTV from its competitors, see
 6   06/07/24 Tr. (Bornstein) 365:12–366:14; 06/17/24 Tr. (Goodell) 1452:15–24; 06/12/24 Tr.
 7   (Rolapp) 1074:3–25, and helped DirecTV establish itself as a viable competitor in content
 8   distribution, which has in turn increased competition among MVPDs, 06/20/24 Tr.
 9   (Bernheim) 1965:8–1966:3. See Ralph C. Wilson Indus., 598 F. Supp. at 706.
10            Plaintiffs offered no evidence addressing how any of these procompetitive benefits
11   could be achieved in the BFW, much less demonstrating any alternative that is “virtually
12   as effective in serving the defendant’s procompetitive purposes without significantly
13   increased cost.” Epic, 67 F.4th at 986, 990 (cleaned up). “[A] business practice without a
14   less restrictive alternative is not, on balance, anticompetitive,” id. at 994, and any purported
15   anticompetitive effects do not outweigh the clear procompetitive benefits of the exclusive
16   Sunday Ticket agreement with DirecTV. See 06/20/24 Tr. (Bernheim) 1955:6–1956:11,
17   1961:9–11, 1963:1–16, 1965:8–1966:3.
18   III.     PLAINTIFFS FAILED TO PROVE CLASSWIDE INJURY OR DAMAGES.
19            Even if Plaintiffs could establish a violation of the Sherman Act, they failed to prove
20   classwide injury. Plaintiffs had to establish that each and every class member has standing
21   to pursue their claims. See TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021)
22   (“Article III does not give federal courts the power to order relief to any uninjured plaintiff,
23   class action or not.”). At the class certification phase, Plaintiffs asserted that their common
24
     25
25     See, e.g., 06/12/24 Tr. (Rolapp) 1050:8–13; 06/13/24 Tr. (Zona) 1215:10–17 ( “roughly
     half” of subscribers received Sunday Ticket for free); 06/17/24 Tr. (Yurukoglu) 1439:11–
26   15 (there were “certainly” some class members who paid zero [dollars for Sunday Ticket]
     in certain years as a result of discounts); 06/13/24 Tr. (Yurukoglu) 1343:2–13 (explaining
27   that, in a per-subscriber fee arrangement like that which other sports leagues use to
     distribute OOM packages non-exclusively, distributors will be less likely to offer discounts
28   to consumers); 06/12/24 Tr. (Rolapp) 1021:2–19, 1050:22–24.

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      Case No. 2:15-ml-02668-PSG (SKx)                        NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 32 of 36 Page ID
                                      #:52831


 1   evidence proves harm to every member of the class. ECF No. 633-1 (Mem. Supp. Pls.’
 2   Mot. Class Cert.) at 17–21. But Plaintiffs failed to make that showing at trial, including as
 3   to causation and damages. See Abuan v. Gen. Elec. Co., 3 F.3d 329, 334 (9th Cir. 1993);
 4   In re Rail Freight Fuel Surcharge Antitrust Litig., 934 F.3d 619, 623 (D.C. Cir. 2019).
 5            That is first and foremost because Plaintiffs’ models fail as a matter of law. Kurtz v.
 6   Costco Wholesale Corp., 818 F. App’x 57, 62 (2d Cir. 2020) (when purported common
 7   expert evidence of injury is unreliable, “the class claims will fail as a unit”). But Plaintiffs’
 8   inability to establish the models’ prerequisites—including the feasibility of the college
 9   football BFW, see supra at Part I.A, and the availability of an additional DTC provider in
10   Dr. Zona’s BFW, see supra at Part I.B—also leaves them unable to prove classwide injury.
11   IV.      PLAINTIFFS FAILED TO PROVIDE SUFFICIENT EVIDENCE OF
12            LIABILITY, INJURY, OR DAMAGES FOR THE COMMERCIAL CLASS.
13            Plaintiffs failed to meet their burden to prove every element of their claim as to
14   any—much less each—member of the Commercial Class. Dr. Zona admitted that the prices
15   for commercial subscribers were “quite different,” 06/13/24 Tr. 1219:9–15, and that the
16   “demand curve would be different” for the commercial class, id. 1276:19–23 (emphasis
17   added). Despite these admissions, Plaintiffs did literally nothing to build their case as to
18   the commercial class and said nothing about the commercial class other than to add up their
19   purchases. Id. 1189:25–1190:2; 06/11/24 Tr. (Rascher) 721:20–21, 729:3–4, 780:16,
20   783:3–6. Dr. Rascher never explained how commercial class members would be affected
21   in his BFW with all games available on cable television. As their own expert, Mr. Elhauge,
22   testified, that would eliminate the need for many consumers to go to a bar to watch the
23   games at all.26 And Dr. Zona did not use data from the commercial class, 06/13/24 Tr.
24   1218:6–16; create a demand curve for the commercial class, id. 1222:13–16; or otherwise
25   generate any model relevant to the commercial class, id. (Yurukoglu) 1358:2–20
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     26
27      06/24/24 Tr. (Elhauge) 2195:19–2196:4; cf. 06/07/24 Tr. (Lippincott) 427:10–12
     (testifying that he watched Saints games at bars after cancelling his subscription); 06/13/24
28   Tr. (Frantz) 1290:20–22 (explaining that he watches NFL games at bars or friends’ houses).

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      Case No. 2:15-ml-02668-PSG (SKx)                        NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 33 of 36 Page ID
                                      #:52832


 1   (unrebutted testimony that Dr. Zona’s figures “don’t apply to the commercial class”).
 2   V.       PLAINTIFFS FAILED TO PROVE DAMAGES UNDER ILLINOIS BRICK.
 3            Even if Plaintiffs could establish liability, they failed to establish that they are
 4   entitled to any damages. The default rule is that Plaintiffs’ claims based on any horizontal
 5   agreement among the NFL and its member teams are barred by the “bright line rule” of
 6   Illinois Brick v. Illinois, 431 U.S. 720 (1977), because they did not purchase any product
 7   directly from the NFL or the teams, Apple Inc. v. Pepper, 587 U.S. 273, 282 (2019); see
 8   Stip. Fact 22. To get around this rule, Plaintiffs promised to show a “conspiracy among the
 9   NFL teams, the NFL, and DirecTV[.]” In re Nat’l Football League’s Sunday Ticket
10   Antitrust Litig., 933 F.3d 1136, 1157 (9th Cir. 2019).27 They did not do so.
11            Plaintiffs were required to prove that DirecTV “conscious[ly] commit[ted] to a
12   common scheme designed to achieve an unlawful objective.” Monsanto Co. v. Spray-Rite
13   Serv. Corp., 465 U.S. 752, 764 (1984); Gold Medal LLC v. USA Track & Field, 187 F.
14   Supp. 3d 1219, 1224 (D. Or. 2016), aff’d, 899 F.3d 712 (9th Cir. 2018). Plaintiffs’ only
15   theory at trial of any overarching conspiracy is their late-in-the-game price-fixing claim
16   that the NFL influenced the pricing of Sunday Ticket. This claim falls short.
17            First, Plaintiffs never asserted a price-fixing claim before trial so it is not properly
18   presented. See Sunday Ticket, 933 F.3d at 1157 (distinguishing between a price-fixing
19   conspiracy and the “output restriction” conspiracy alleged here); see also Perez v. State
20   Farm Mut. Auto. Ins. Co., 291 F.R.D. 425, 433 (N.D. Cal. 2013) (rejecting an attempt to
21   “reframe” a Section 1 claim based on quality restrictions as a “price-fixing” conspiracy),
22   aff’d, 628 F. App’x 534 (9th Cir. 2016). Price-fixing means “horizontal agreements among
23   competitors to fix prices,” and DirecTV is not a horizontal competitor to the NFL, CBS, or
24   FOX. Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007); see
25   also Dagher, 547 U.S. at 6 (distinguishing between “price fixing in a literal sense” and
26
     27
27     Defendants maintain that there is no “co-conspirator exception” to Illinois Brick, and to
     the extent that one exists, it is limited to price-fixing conspiracies and does not extend to
28   non-price-fixing conspiracies of the kind alleged here. See Sunday Ticket, 933 F.3d at 1158.

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      Case No. 2:15-ml-02668-PSG (SKx)                         NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 34 of 36 Page ID
                                      #:52833


 1   “price fixing in the antitrust sense”). Moreover, if Plaintiffs wanted to present a theory of
 2   vertical price maintenance by the NFL, they would still have to prove anticompetitive
 3   effects, Leegin, 551 U.S. at 907, which they failed to do, see supra at Parts II.A.2, II.B.2.
 4            Second, Plaintiffs’ experts did not timely offer any model of the BFW that satisfies
 5   their burden under Comcast to isolate the effects of any alleged price-fixing. See supra at
 6   Part I.B (no NFL tax model before trial); Comcast, 569 U.S. at 36. Moreover, the
 7   uncontroverted evidence was that even if the NFL exercised authority over the price of
 8   Sunday Ticket, that would not be anticompetitive, but a ubiquitous practice. 06/17/24 Tr.
 9   (Yurukoglu) 1426:21–1427:14, 1428:10–12; 06/18/24 Tr. (Bernheim) 1817:3–20.
10            Third, Plaintiffs’ theory does not fit the facts, as Plaintiffs failed to overcome the
11   plain language of the relevant agreements granting DirecTV sole pricing authority. TX-
12   390 (2002 DirecTV Agreement) at § 1.b.ii; TX-44 (2011 NFL-DirecTV Agreement) at
13   § 2.c; TX-45 (2014 DirecTV Agreement) at § 2.c; 06/06/24 Tr. (Bornstein) 239:2–240:9.
14   Every witness to address the issue testified that DirecTV set the price of Sunday Ticket
15   from 2002 onward. See, e.g., 06/06/24 Tr. (Bornstein) 225:1–12, 357:4–12.28
16            Documents entered under Rule 806 cannot prove otherwise. “The maximum
17   legitimate effect of the impeaching testimony can never be more than the cancellation of
18   the adverse answer by which the party is surprised.” United States v. Gomez-Gallardo, 915
19   F.2d 553, 555 (9th Cir. 1990) (cleaned up); see Masimo Corp. v. Apple Inc. 2023 WL
20   3432126, at *1 (C.D. Cal. Mar. 15, 2023). Rule 806 documents can at most be used to
21   question the credibility of witnesses who testified that DirecTV set the price of Sunday
22   Ticket (or that the witness was not involved in pricing), but not to affirmatively prove NFL
23   control over pricing. And setting aside evidence admitted for impeachment purposes,29
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     28
        See also, e.g., 06/17/24 Tr. (Goodell) 1466:14–24, 1498:19–20; 06/12/24 Tr. (Rolapp)
26   998:4–5, 1052:5–7; ECF No. 1444-1 (White Dep.) Tr. 206:19–207:2.
     29
27      The following exhibits were admitted only for impeachment: TX-457, TX-536, TX-612,
     TX-618, TX-771, TX-772, TX-775, TX-777, TX-779, TX-780, TX-787, TX-799, TX-800,
28   TX-801, TX-802, TX-805, TX-806, TX-808, TX-810, TX-818, TX-822, and TX-830.

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      Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 35 of 36 Page ID
                                      #:52834


 1   Plaintiffs have no substantive evidence of agreement on or control over price.30 Plaintiffs’
 2   damages claims are thus foreclosed by Illinois Brick.
 3   VI.      PLAINTIFFS FAILED TO ESTABLISH LIABILITY BASED ON CONDUCT
 4            THAT IS NOT PROTECTED BY THE SPORTS BROADCASTING ACT.
 5            The evidence confirms that Plaintiffs’ proposed BFWs rely on the invalidation of
 6   provisions in the SBA-protected network agreements, 15 U.S.C. § 1291. The college
 7   football BFW infringes on provisions designed to protect broadcaster exclusivity, compare,
 8   e.g., 06/11/24 Tr. (Rascher) 752:20–756:1, with, e.g., TX-145 at §§ 1.4, 2.5 (exclusivity
 9   and resale provisions of 2015 NFL-FOX agreement), and the multiple distributor BFW
10   eliminates some aspects of those agreements, 06/13/24 Tr. (Zona) 1181:23–1182:20.
11            Defendants preserve their arguments that all aspects of the network agreements—
12   including their exclusivity provisions—are protected by the SBA. See ECF No. 962-1
13   (Mem. Supp. Defs.’ MSJ) at 4–11; ECF No. 1000-1 (Reply Supp. Defs.’ MSJ) at 1–4. In
14   addition, the evidence confirmed that the only agreement outside of the network
15   agreements that could be challenged is the agreement through which the NFL licenses
16   redistribution rights to DirecTV. See TX-44; TX-45. That exclusive licensing agreement—
17   standing alone—does not violate the law. See supra at Part II.B.1.
18                                         CONCLUSION
19            The Court should grant judgment as a matter of law to the NFL on all counts.
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       TX-172 (discussing pricing of the separate.TV joint venture, not satellite Sunday Ticket);
22   TX-269 (DirecTV’s finance department “said no” to dropping the price of Sunday Ticket);
     TX-422 (some NFL executives did not know about pricing changes for Sunday Ticket
23   made unilaterally by DirecTV in 2012); TX-428 (same); TX-419 (NFL had, in direct
     response to changes in Sunday Ticket agreement, eliminated positions related to
24   “marketing, pricing, promotion, and administration” of Sunday Ticket satellite product);
25   TX-481 (discussing pricing of the .TV product); TX-457 (same); TX-536 (same); TX-771
     (same); TX-775 (any “approval” over pricing from NFL comes after DirecTV has publicly
26   implemented the price); TX-805 (NFL team asking DirecTV employees what Sunday
     Ticket prices will be for the following season); TX-822 (pricing presentation for a potential
27   (unrealized) joint venture “OTT” product, not satellite Sunday Ticket); TX-818 (internal
     DirecTV emails discussing pricing with no NFL input); TX-788 (Rolapp email discussing
28   how .TV, not satellite Sunday Ticket, was to be offered).

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      Case No. 2:15-ml-02668-PSG (SKx)                       NFL Defendants’ Motion for Judgment as a Matter of Law
     Case 2:15-ml-02668-PSG-SK Document 1456 Filed 06/24/24 Page 36 of 36 Page ID
                                      #:52835


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      Case No. 2:15-ml-02668-PSG (SKx)                 NFL Defendants’ Motion for Judgment as a Matter of Law
